Case 8:23-mj-02199-AAS Document1 Filed 09/26/23 Page 1 of 25 PagelD 27

AQ OI (Rev. 1/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

United States of America )
Vv. )
Justin Ryan Culmo Case No.
) 8 ©O 4M Q
23NJ2199AAS
emu a sass reciente )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 2012 until the present in the county of _ Pinellas _ in the
Middle District of _ Florida __ , the defendant(s) violated:
Code Section | Offense Description
18 U.S.C §§ 2251 and 2252(a)(2) Production and distribution of child pornography

This criminal complaint is based on these facts:

See Affidavit.

ff Continued on the attached sheet.

‘omplainant’s signature

SA Brooke N. Harville, HSI | a

Printed name and title

Sworn to before me over the telephone or other reliable electronic means and signed by me
pursuant to Fed. R. Crim. P. 4.1 and A(d).

Date: SeOmbs Zh, Let> Zesacdo 0 pha
udge s signature

City and state: Tampa, FL AMANDA A. SANSONE, U.S. Magistrate Judge

a Printed name and title

Case 8:23-mj-02199-AAS Docume

AFFIDAVIT IN SUPPO

nt 1 Filed 09/26/23 Page 2 of 25 PagelD 28

T OF CRIMINAL COMPLAINT

I, Brooke N. Harville, being d1

1.

Security, Homeland Security Inve

employed with HSI since May 202

Psychology with a minor in Spanish
also completed over a year of gr
homeland security and emergenc
University. I am currently assigned t
I am currently assigned to investigs
children, particularly in relation to \
criminalize the production, possessiq
material. I have investigated, condug
pertaining to these types of investig
investigate violations of the laws of t
warrants issued under the authority

2.
complaint and arrest warrant for Ju

sets forth facts sufficient to establish

and distributed child pornography, 1

3. The facts contained in

based on my participation in this

I am a Special Agent w

ily sworn, depose and state the following:

ith the United States Department of Homeland
stigations (hereinafter “HSI”). I have been
2. I possess a Bachelor of Science Degree in
| granted by the Florida State University. I have
aduate course work in public administration,
y management studies at the Florida State
b HSI, Special Agent in Charge, Tampa, Florida.
ate matters involving the online exploitation of
Liolations of 18 U.S.C. §§ 2251 and 2252, which
in, receipt, and transmission of child sexual abuse
‘ted searches, and assisted with other agents’ cases

ations. As a Special Agent, I am authorized to

he United States and to execute arrest and search

of the United States.

I submit this affidavit in support of an application for a criminal

stin Ryan CULMO (“CULMO”). This affidavit
probable cause to believe that CULMO produced
n violation of 18 U.S.C. §§ 2251(a) and 2252(a)(2).
this affidavit are drawn from personal knowledge

investigation, information from other criminal

Case 8:23-mj-02199-AAS Docume

investigators, law enforcement office
provided by witnesses and law enfo
submitted for the limited purpose of
not set forth each and every fact leart

BACKGROUND OF THE INV

4, CULMO has been link

regularly produce, distribute, and 1

IE

nt 1 Filed 09/26/23 Page 3 of 25 PagelD 29

rs, agency reports, and the review of documents
rcement officers. Because this affidavit is being
seeking authorization to arrest CULMO, I have
hed during the course of this investigation.

STIGATION AND PROBABLE CAUSE

fed to an online community of individuals who

feceive child sexual abuse material via hidden

service websites also known as darkweb sites, that operate on the Tor anonymity

network. The websites described
exclusively dedicated to the sexual
believe that CULMO has produced

these sites and has been doing

TheRealAvalanche.
Backgrou
5. As part of an ongoi

investigates individuals who produ

images and videos on various dark

1 The name of Website A is known to law enfd

ongoing and disclosure of the name of the websit

investigation, potentially provoking users to ngt
evidence.
2 The name of Website B is known to law enfo
ongoing and disclosure of the names of the we
investigation, potentially provoking users to nq

evidence.

t

herein (“Website Al and Website B2”) are
abuse of children. There is probable cause to

and distributed child sexual abuse material on

so using the screenname Avalanche and or

nd on Website A & Website B

ing child exploitation operation, HSI actively
ice, advertise and distribute child sexual abuse

websites. For the purpose of this affidavit, HSI is

brcement. Investigation into the users of the website remain

e would potentially alert active website users to the

ify other users of law enforcement action, flee, and/or destroy

rcement. Investigation into the users of the website remain
bsites would potentially alert active website users to the

ify other users of law enforcement action, flee, and/or destroy

Case 8:23-mJ-02199-AAS Documer

referring to two sites on the darkweb
A” and “Website B” which are both
children. Website A was a dark web
to fourteen years old. Website A opera
2015. In October of 2015, Website A
Website B was a dark web forum site
years old. Website B operated from ;
In September of 2017, Website B was

6. Through the course of ¢
other members of law enforcement «
dark web hidden services dedicated te
A and Website B. I know, from exps
for individuals to visit, access, or gain
hidden service at the same time.

7. Through the course ofo
Website A and Website B and know
screenname and password in order to
a unique screenname; that is, they c¢
registered user.

8. HSI Special Agents are

the production and distribution of

Mt1 Filed 09/26/23 Page 4 of 25 PagelD 30

that will hereinafter be referred to as “Website
websites dedicated to the sexual exploitation of
forum site dedicated to boys and girls ages four
ited from approximately August 2014 to October
was seized by a foreign law enforcement agency.

dedicated to boys and girls ages four to fourteen

approximately August 2016 to September 2017.

seized by a foreign law enforcement agency.

yngoing undercover operations, HSI agents and
around the world have been monitoring several
) the sexual abuse of children, including Website

brience with such investigations, that it is typical

membership to more than one child exploitation

ngoing undercover operations, I am familiar with

r that these sites required individuals to create a

gain access to the site. New users had to choose

buld not select a name already in use by another

investigating an individual who has engaged in

bhild sexual abuse material on Website A and

Website B. In this affidavit I will be pscnbing the production and distribution of child

Case 8:23-mj-02199-AAS Docume

sexual abuse material on Website A

screenname Avalanche and or The

(posting and commenting) by this ind

9. On or about July 19,

Identification Referral from the ¢
Identification Task Force Operation ]

abuse material (“CSAM”), in the 1

believed to have been identified thr
named ‘12078 ANDREA2Y’ and ‘A
series has revealed that additional se

AKA STACY1_4K,’ and ‘AVALAI

produced by the same individual.

enforcement subject matter experts ¢
The suspected producer uses the scr¢
10. On or about July 24, 2)

‘12078 ANDREA2Y’ and ‘ANDRE

3 «12078 ANDREA2Y’ and ‘ANDREA’ is a s¢
Exploited Children (NCMEC). NCMEC expe]
sexual abuse material in an effort to assist law
Additionally, NCMEC coordinates with Interp
sexual abuse material (ICSE), this database is z
partners.

b

nt1 Filed 09/26/23 Page 5 of 25 PagelD 31

and Website B by a specific individual using the
‘ealAvalanche, but I will also reference activity
lividual on Website A and Website B.

Probable Cause

2023, HSI Tampa, Florida, received a Victim
Pyber Crimes Center (“C3”) and the Victim
Renewed Hope, involving a victim of child sexual
Tampa, Florida, area. The victim of CSAM is
ough facial recognition technology in the series
NDREA.” Further analysis of these two CSAM
ries, ‘BinkyPink AKA Trina,’ ‘BoardGameStack
NCHE/SPYCAM PICS’ are also believed to be
These correlations are made by both law
1s well as analysts at both NCMEC and Interpol.
»enname(s) Avalanche and TheRealAvalanche.
023, investigators from HSI Tampa reviewed the

A’ series. The series contained approximately 175

ries identified by the National Center for Missing and

ts review, categorize and name images and videos of child

bnforcement in locating these victims of sexual abuse.
‘ol to add these series to the international database of child
ccessible to HSI as well as international law enforcement

Case 8:23-mj-02199-AAS Document 1 Filed 09/26/23 Page 6 of 25 PagelD 32

media files with 156 of those media files depicting child sexual abuse material. Three

(3) files of child sexual abuse material, depicting what appears to be the same child,

are described as follows:

11.

a. File Name: “Andrea 2Y 094.JPG” — This media file depicts a

prepubescent female toddler. The toddler is laying on her back in
a brown crib. The toddler is wearing a pink onesie. The onesie is

unzipped, the

diaper is partially removed, and the toddler’s

vagina is exposed. The toddler is surrounded by bedding
including a multi-colored striped blanket. The toddler’s face is
covered by a pink pig plush toy. An erect male penis is seen
between the brown crib slats near the toddler.

. File Name: “sexibl_Andreat+2Y+063” — This media file depicts

a prepubescent|female toddler. The toddler is laying on her side
and is surrounded by bedding. The toddler is nude from the waist
down. A person is seen using their hand to separate the toddler’s

buttock thereb

y exposing the toddler’s anus.

_ File Name: “Andrea 2Y 039” — This media file depicts a

prepubescent female toddler laying on her back in a brown crib.
The toddler is|surrounded by bedding and a black and yellow

plush toy. The

toddler is partially clothed and wearing a blue top.

The toddler’s blue bottoms are pulled down below her knees and
her diaper is partially removed. The toddler’s legs are spread

apart, and her

On or about July 31

identified by her mother in series

vagina is exposed.

2023, Minor Victim 1 (MV1) was positively

‘12078 ANDREA2Y’ and ‘ANDREA.’ MV1’s

mother believes the pictures were taken between 2011 and 2014, making MV1 between

the ages of 1 and 4 years old at the time images were produced. MV1’s mother believed

Case 8:23-mj-02199-AAS Document1 Filed 09/26/23 Page 7 of 25 PagelD 33

they were residing in Hudson, Florida, in the Middle District of Florida, at the time

the pictures were taken.
12. MV1’s father recalled h
residence in Hudson, Florida. MV

CULMO went inside the home.

is work friend, Justin CULMO, coming to their
l’s father was working in the back yard and

When the father entered his residence, he

encountered CULMO, next to his daughter, in the first-floor bedroom. The father

confronted CULMO. CULMO became very quiet, did not respond, and left the house

within 30 minutes. The father advise
approximately 12 times prior to this
visited the residence after that.

13. On or about August 2

screenshots of social media photos p

‘d that CULMO had visited them, at their home,

incident and to his recollection, CULMO never

11, 2023, MVI1’s parents provided investigators

osted by CULMO. On November 13, 2012, ina

post titled “pix from my visit,” CUL/MO posted photos of MV1 with the same multi-

colored striped blanket and brown couch depicted in the series, ‘12078 ANDREA2Y’

and ‘ANDREA.’

14. On or about August 2,

2023, HSI Tampa received the additional series

named ‘BinkyPink AKA Trina’. The series ‘ANDREA’ and ‘BinkyPink AKA Trina’

both contained media files that depicted sexual abuse material of prepubescent female

children as well as an erect male penis.

Case 8:23-mj-02199-AAS Document1 Filed 09/26/23 Page 8 of 25 PagelD 34

15. |The series ‘ANDREA’ contained media files that depicted sexual abuse
material of prepubescent female children as well as a distinctive and unmanipulated
erect adult male penis.

16. The series ‘BinkyPink |AKA Trina’ also contained media files that
depicted sexual abuse material of prepubescent female children as well as a blurred
adult male penis that appears to have the same distinctive characteristics of the
‘ANDREA’ series.

17. Onor about August 4, 2023, I received two Child Protective Services
reports from Pasco County Sheriff's Office, detailing child sexual abuse allegations

made against CULMO. The following is a summary of the information provided:

Intake Date: 06/12/2014

Intake Time: 12:23 PM

Alleged Victim: Minor Victim 2 (MV2)

Address: ee
Alleged Perpetrator: Justin CUMO (DOB: 6/28/1984)*
Address: ee

Narrative: “On 06/11/14 MV2 told her mother that Mr. Cumo had
touched her. It is unknown where he touched her. It is believed the touch
may have been sexual in nature. Mr. Cumo was last alone with the MV2
on 06/02/14 while he babysat MV2 while the mother was at work. MV2
has started having nightmares. MV2 has been heard saying “don’t touch
me” while having a villemare MV2 had a bruise on her inner and outer

thigh last week. When asked what had happened MV2 said she had fallen.

4 SA Harville spoke to a Child Protective Investigator Supervisor, who confirmed the subject of the report is
Justin CULMO. The personal identifiers for CUMO and CULMO are the same. I believe the references to
CUM6O in the child protective services report ate a typo.

Case 8:23-mJ-02199-AAS Documemnt1 Filed 09/26/23 Page 9 of 25 PagelD 35

The details of the fall are unknown. Last week Mr. Cumo was seen trying
to sit next to MV2. MV2

It is unknown what this 1

told Mr. Cumo “Don’t touch me, you are bad.”
means. MV2 behavior has recently changed. She
went from being pretty dat going to keeping more to herself. The mother
and Mr. Cumo are friends and hang out a lot. Mr. Cumo does not reside
in the home and does not have access to the child. In the past little girl’s
underwear were found in Mr. Cumo’s home. No other details are known

about the underwear.”

Intake Date: 2/24/2019

Intake Time: 9:31 PM

Alleged Victim: Minor Victim 3 (MV3)

Address: es
Alleged Perpetrator: Justin CULMO (DOB: 6/28/1984)
Address: ee

Narrative: “This evening, Justin allegedly took a picture of the MV3’s
“private parts”. MV3 went over to the home to play with dolls with Eliza,
the neighbor, after the park. MV3’s father went over to the home to check
on her. MV3 wasn’t ready to leave at that time. MV3’s father informed

her that he would pick! her up in 45 minutes for dinner. Later on that

evening, MV3’s father

where her labia is fused

gave her a bath. MV3 has a medical condition

together by her skin. As the father was washing

MV3, the father informed her that it was only appropriate for him and the

mother to touch her “
father told MV3 that
MV3 was asked if she

“no”. MV3 then staté

indicated that Eliza’s

touched her “poochella

soochella”, also known as her vaginal area. The
one is ever allowed to touch her there. When
had ever been touched, she responded by saying
d, “Izzy’s dad touched my poochella”. MV3
father pulled her pants down to her thigh and
” She then stated that he took out his phone and

Case 8:23-mj-02199-AAS Document 1 Filed 09/26/23 Page 10 of 25 PagelD 36

took a picture. “Izzy” was playing at the time of the incident. Her mother

was in the shower. The incident occurred after MV3’s father left the

home.”

18. On approximately August 21, 2023, I contacted HSI Portland regarding

this investigation. HSI Portland Agents have been conducting similar investigations

on darkweb users for approximately

eight years. HSI Portland Agents were familiar

with the individual using the screenname Avalanche/TheRealAvalanche and the

various darkweb sites/forums the user was active on. HSI Agents conducted further

review of the individual using the

screenname Avalanche/TheRealAvalanche and

revealed that this individual was a¢tive on various darkweb sites dedicated to the

sexual abuse of children since approx

imately 2012. HSI Agents reviewed posts created

by the individual using the screenname Avalanche/ TheRealAvalanche. A sample of

these posts as they relate to the seri
follows:

12078 ANDRE

From: Avalanche
Date/Time: 2014-09-11, 19:10:02 UTC
Subject: Re: andrea 2yo
Site: Website A

es of child sexual abuse that was produced is as

(A2Y/ ANDREA (2014 timeframe)

a. “Hey, would ya look at that. The Andrea Series is getting around, That makes

me happy. I see, however, it is quite incomplete, particularly the 3D files’. You

5 A 2D image has only height and width. The term 3D is sometimes used to describe a physical item such as a
sculpture which would have not only height and width but also depth. A Stereoscopic 3D file can be viewed using
“3D glasses” and will create the depth or the allubion of depth.

Case 8:23-mJ-02199-AAS Document1 Filed 09/26/23 Page 11 of 25 PagelD 37

can look up how to view Stereoscopic 3D files, or they can be converted to any
usable 3D image format. Aflow me to make a more complete posting for you.”
BINKYPINK AKA TRINA (2016 timeframe)

From: Avalanche

Date/Time: 2016-09-17, 21:05:59 UTC
Subject: RE: Anyone got busted or punished for CP?
Site: Website B

a. “Around the time I was making the Trina set, I dated a woman with an 11 year
old. Too old to do anything funny, but I used to let her cuddle with me and I'd
massage her, etc when we were alone. The mother came home early and the girl
was REALLY on top of me, cuddling, rubbing, legs wrapped around. Probably
wouldn't have been a huge issue, except we both panicked. We both almost fell
right off the couch in surprise.”

b. “Possibly the worst one was when a girl and her mom crashed at my place.
Everyone was asleep in different rooms. I snuck out in the middle of the night to
the couch the girl was sleeping on. Whipped out my dick, put her hand on it,
rubbed my dick on her fade, pulled her nitegown up, etc. Didn't notice this, the
mother had relocated and was sleeping on the couch, nearby. She could've easily
seen me, I'm not sure if she did or not. We remained friends for a long time
afterwards and I would see her daughter, but every so often, there would be hints
to suggest she knew something.”

c. “Oh, and I was almost caught with Trina. With Trina (the set), the couple of

women I was hanging with went out to the store, left me alone with the kids to

Case 8:23-mj-02199-AAS Document 1 Filed 09/26/23 Page 12 of 25 PagelD 38

watch. Trina was sleeping

bedroom door, but, turns
my dick back in my pants

her wallet.”

From: Avalanche

Date/Time: 2014-11-22, 14:44:09 UTC

in our bed for the night. I had the good sense to lock the
aut the lock didn't work. I was fortunate enough to get

the second the door handle turned because my GF forgot

Subject: Re: The set you've been asking me for: Trina 4Y 2D-3D
Site: Website A

a.

“She was fun. The fact that she was still wearing diapers at her age made it all

the more easier for her to

be ok with me taking her clothes off, her spreading, me

wiping, fingering, etc. Instantly lie down and assume the position for me to clean

you up.”

“Funny story, because I was babysitting, I was in the bed with my GF and this

little one, both were just passed out from a late night, but I was pumped up on the

adrenaline of having this

tute thing all to myself. I cuddled her up all night and

at some point, I got her diaper back off and started to quietly fuck her thighs and

slit. When I say I came buckets, it felt like my dick didn't stop for 30 seconds, I

pushed my dick hard against her little hole and just came and came. After it was

over, it was like a scene from Something About Mary. I felt around, like

"Where'dd it go?" I wasn't wet, she wasn't wet, the bedsheets weren't wet. I stuck

my finger in her little slit

and I could feel some cum in there. I guess she took the

entire load. I put her diaper back on and went back to sleep.”

Case 8:23-mj-02199-AAS Document 1 Filed 09/26/23 Page 13 of 25 PageID 39

From: Avalanche
Date/Time: 2016-10-02, 17:48:32 UTC
Subject: Avalanche App VIP
Site: Website B

a. I'mstill editing and releasing Trina vids, also working on an upskirt and candid
series, and have a ton of totlet cams and other stuff.
BoardGameStacks AKA STACY 1_4K (2016 timeframe)

From: TheRealAvalanche
Date/Time: 2016-12-28, 14:56:23 UTC
Subject: RE: Stacyl1_4K
Site: Website B

a. “It's real 4K from a phone] don't expect any drastic improvement, I slected the best
bitrate for the video qualizy. Older computers are more difficult to play 4k on. If
VLC doesn't work, use MPC. Also, this was a VIP video from TGE, but I expected
it would eventually get out.”

b. “I will put more effort into this series, but I really have to finish up the Trina
Videos, there are 4 in all, 8 released. Losing the Giftbox took a hit, but I also have
other IRL matters to deal|with, so I haven't been as active.”

From: Avalanche

Date/Time: 2016-10-02, 17:48:32
Subject: Avalanche App VIP

Site: Website B

a. “This is a new one, I'm calling her Stacy. Mostly taking pictures and molesting.”

Case 8:23-mj-02199-AAS Documen

b.

d.

From: Avalanche

Date/Time: 2014-09-16, 22:33:08 UTC
Subject: Re: Spycam

Site: Website A

“Since it was brought up,
4k. I toned it down on the
it.”

“This is the first of about 4
out. I'm already anticipat
care, but I like to sit on my
from memory and let the g

“Stacy was about 5 or so. |

t1 Filed 09/26/23 Page 14 of 25 PagelD 40

T realized I could up the resolution to the source file to

watermark, but I like my laughing man, so deal with

-5 Vids, I'm still deciding on how much I want to put
ing my stuff will eventually get leaked, I don't really
content as long as I can in order to disassociate myself
irl age a little.”

My voice replaced with subtitles.”

SPYCAM PICS

“I'ye had a lot of luck with potty cams, see pix below. The hardest part about

bathroom cams is the sha;
objects that a camera can
might want to pick up
decoration or a piece of fur
which means it might be
also might not have enou

Scrutiny is the hardest pat

be of the room and sometimes a lack of non-functional
he placed inside. You can't pick an object that someone
lor use, has to be completely non-functional, like a
iture. The object has to be directly in front of the toilet,
stared at for good lengths of time, even by adults. You
ph room to place something right in front of the bowl.

t to overcome.”

“My luck is with 808 cams. I prefer the 1080p cams (#26 or HT T-F'1), image

quality is great if you can

set the light right. Have lots of lighting, but no actual

Case 8:23-mJ-02199-AAS Document1 Filed 09/26/23 Page 15 of 25 PageID 41

lights should be seen by the camera. The 808 cams last about an hour of recording

time with no external source, external batteries can last 3-12 hours, a 32GB TF
card will last about 5 hours at 1080p. Also, the mentioned cams come with a cord
that works like a dashcam, when power is applied, it begins recording, when power
is removed, the recording is saved and the cam is turned off.”
“Some downfalls. the 1080p cams get HOT when left recording over extended

periods of time. Using external battery and multiple cards, I can go about 10 hours

at a time of continuous shopting. Also with continuous shooting, you have a lot of
video to go through. The #26 is metal, which lets it cool itself, but after an hour+
of recording it still is so hot\I can't touch it, very dangerous, The HT-F1 is plastic,
so it's only warm to the toych, but the chipset gets so hot, video begins to corrupt.
The HT-F1 has motion detection, but that doesn't stop it from getting hot and

corrupting. With both, the warmer it gets, the lower quality of video and lower

bitrate. You will see this in the pictures. I am working on a solution so that the
camera only activates when someone is in the bathroom, but the built-in motion
detection doesn't work well for my needs. You also have to account for changing

out the SD card after about 5 hours of video. Easy access is key and no one can see

you do it or will easily gai
“Where to hide? Well, I'l
made any objects that don
a camera inside. You wan

ofa lens. Think of solid bl

n access to the compartment that the cam is hidden.”
I leave that up to you. Pinholes don't work, I have not
't look suspicious by putting a pinhole in it and sticking

patterns and solid objects, stuff that breaks up the shape

ack plexiglas or wicker patterns.”

Case 8:23-mjJ-02199-AAS Document1 Filed 09/26/23 Page 16 of 25 PagelD 42

19. HSI Agents also located|postings by the individual using the screenname
Avalanche and TheRealAvalanche regarding the use of encryption and how to react
if you are caught or suspected to have molested a child:

From: Avalanche

Date/Time: 2016-09-18, 13:31:12 UTC
Subject: RE: Anyone got busted or punished for CP?
Site: Website B

a. “Keep your shit encrypted, Veracrypt is the current standard. If the container ts
closed, you're safe, you don't need physical means to destroy your computer and
possibly harm an LEO, while you're at it. Here's some tips.”

b. “CP on nothing except your CP machine. Keep it off your cameras, cell phones,
tablets, flash drives, other computers, and so on. Every bit of CP goes into
encrypted space. When ypu do have stuff on other devices, clean it up quick and
thoroughly. If you have friends and family, have a separate computer ‘for them to
see and use. Good netwark, good firewall for the machine with CP, to prevent
network breaches.”

c. “3 encrypted drives: One queue for your uploads and downloads, one that you
open just to archive, one\ that you back up and keep off site. Keep in a secured

location no one knows about, it's encrypted, so even if someone finds it, they can't
use it. I keep mine off site because I don't want to lose my collection if there is a
fire or all my stuff is seized.”

d. “Power kill your machine with some sort of access sensor. Keep the computer in

a nice cabinet or desk with good airflow, the cabinet should be tight enough that

Case 8:23-mJ-02199-AAS Document1 Filed 09/26/23 Page 17 of 25 PagelD 43

the computer cannot be op

ened without removing it from the cabinet. Convenient

unlocked access door to get to machine. If someone opens the door, power is cut

to the computer, encryptec

a cold boot attack, and ev

1 data is safe. The police are almost never prepared for

bn if they were, this method buys a lot of time. It's also

a good defense for you to Know if your machine has been accessed and prevent an

Evil Maid or Stoned Boot

good measure against pry

caught because someone fa

with a child or because th

From: Avalanche

Date/Time: 2014-09-16, 21:25:50 UTC
Subject: Re: anyone know the way to get
Site: Website A

a.

then suddenly disappear. |’

20.

that CULMO is a mechanical engine

“Always clean up loose ei

“Most users will not be ca

“Have your way with the

A review of publicly av

attack.”

nds and lock your OS whenever you walk away. Just
Ing eyes.”

ught for downloading CP on the darkweb, they will get
und CP on their cell phone or because they were caught

p police had some other reason to enter and seize.”

little child?

children for a little while, get videos, pictures, etc, and

ailable and law enforcement databases revealed

er and worked at [is located

NS between January 2008 and March 2010.

CULMO is also an avid photographer with various photography websites he appears

to have designed himself to include:

ninety-9.com. Additionally, HSI Agents located

Case 8:23-mj-02199-AAS Document

the following email accounts ass¢
jculmo@blackplanet.com, jsax@ta
jsaxophone4@email.com. Given this
usernames on darkweb sites dedicate
user with the screen name: jsaxophon

21. On August 23, 2023, HS
regard to CULMO and hobbies he w.
a saxophone player.

22. Onor about July 31, 20:

1 Filed 09/26/23 Page 18 of 25 PagelD 44

ciated with CULMO: justin@ninety9.com,
impabay.rr.com, justinculmo@hotmail.com,
information, HSI Agents conducted a search of
d to the sexual abuse of children and located a
e.

I Agents spoke with the parents of MV1 with

4s known to have. HSI learned that CULMO is

23, a search of the Florida Driver and Vehicle

Information Database (DAVID) revealed the following information for J ustin Ryan

CULMO, including the following inf

Name:

Date of Birth:
Residential Address:
Change Date:
Residential Address:
Change Date:
Residential Address:
Change Date:

Vehicles Registered:

ormation:

Justin Ryan CULMO
06/#H/ 1984

06/30/2017

06/27/2013

ee
06/18/2009

1999 Red Nissan 4-Door GD
2015 Red Nissan Pickup (iii

1994 Trailer (a
2022 Gray Ram Truck (iil)

Case 8:23-mj-02199-AAS Documen{1 Filed 09/26/23 Page 19 of 25 PagelD 45

23.

employment record search on Ju:

information:

On or about August 7,

Name:

Legal Entity Name:

Address:
First Quarter:

Last Quarter:

Name:

Legal Entity Name:

Address:
First Quarter:
Last Quarter:

Name:

Legal Entity Name:

Address:
First Quarter:
Last Quarter:

Name:

Legal Entity Name:

Address:
First Quarter:
Last Quarter:

2023, an open-source search and wages and

‘tin Ryan CULMO revealed the following

Justin CULMO

January 2008
March 2010

Justin CULMO

January 2008
March 2010

Justin CULMO

January 2015
March 2017

Justin CULMO

ee
ee
April 2017

February 2023

Case 8:23-mj-02199-AAS Documen

24.

is married to

25.

from July 27, 2017, regarding an incid

On or about August 4, 2¢

©

HSI Agents located a ré

11 Filed 09/26/23 Page 20 of 25 PagelD 46

)23, open-source intelligence revealed CULMO
nd they haveljjjminor children.
sport from Hillsborough County Sheriff Office

lent that occurred with CULMO and his former

employer, EE In summary, CULMO was required to surrender a SD

card that was company property (tha

SD card, the employer located a folde

approximately 1,155 (5.85GB) photc
Mann Middle School in Brandon, F

Brandon, FL, and it was reported by t

t was secreted in his shoe). Upon review of the
r named “Jersey Avenue.” This folder contained
sgraphs of young girls coming and going from
L. The school is located at 409 E Jersey Ave,

he employer that CULMO was living across the

street at ES at that time.

26. Onor about August 30,

2023, I conducted an open search of the address

es 2 prior known residence of CULMO. Open-

source research revealed a publicly

available image of a bathroom located at

ee The picture depicts a bathroom with light blue

square tile on the wall with white gr

wall right of the toilet. The toilet is wh

hut. The tile wall is behind the toilet and on the

ite in color with a beveled tank and has a chrome

handle on the left side. A two-door wall cabinet is directly above the toilet. There are

approximately six square wall tiles fr

27. The AVALANCHE/SE

bm the floor base board to the top of the toilet.

>YCAM PICS series contains approximately six

child sexual abuse images in which pre-pubescent girls are standing in front of a toilet

Case 8:23-mj-02199-AAS Documen

t1 Filed 09/26/23 Page 21 of 25 PagelD 47

with their vaginas as the focus of the image. Approximately 3 of the 6 media files depict

a bathroom with a toilet that is white

in color with a beveled tank and a light blue tile

wall like the bathroom pictured at iii Onc

of the 3 media files also depicted a ch

rome-colored toilet handle on the left side of the

toilet. In 1 of the 3 pictures HSI Agents are able to count 6 tiles from the base board to

the top of the toilet.

28. On or about September

26, 2023, HSI Tampa executed a federal search

varant 2 I Juscin Ryan CULMO (DOB:

6/M/ 1984) was present at the residence at the time of the search.

29. After Miranda advisement and waiver, HSI Tampa interviewed CULMO

and learned the following information: CULMO admitted to using the screenname(s)

Avalanche/TheRealAvalanche. CUL/MO admitted to producing the images identified

in the child sexual abuse series: ANDREA2Y’ and ‘ANDREA; BinkyPink AKA

Trina; and STACY1_4K. CULMO admitted to producing images of child sexual

abuse of both of his daughters, the mo

September 22-25, 2023.
30. Ina locked drawer in C
female, child underwear and 5 spy ca
31. During a forensic previ¢
Computer Forensic Analysts discove

children in varying phases of undress

st recent production occurring this past weekend,

ULMO’s desk, HSI agents found 11 pairs of

meras.

tw of CULMO’s electronic devices, HSI Tampa

red multiple videos depicting prepubescent

while using the bathroom. These videos appear

Case 8:23-mJ-02199-AAS Document1 Filed 09/26/23 Page 22 of 25 PagelD 48

to be recorded from a hidden camera placed in a concealed and strategic location

aimed specifically at the toilet where someone would utilize the bathroom. Some

media files depict exposed, prepubescent child vaginas, while another media file

depicts a prepubescent child penis. Agents visually compared the media files to the

bathroom in CULMO’s home. Agents were able to confirm that CULMO’s

bathroom was the location where the|spycam videos were recorded. The bathroom is

directly adjacent to both of CULMO's daughter’s bedrooms.

32. Three files of child sexual exploitation material, recorded in CULMO’s

bathroom are as follows:

*20220812_163621” This media file is

a. File Name:

. File Name:

approximately

approximately f

while using the

. File Name:

approximately f

one minute and 34 seconds and depicts an
four to seven year old female child undressing
bathroom;

*20220814_080751 This media file is
ive minutes long and depicts an approximately

six to nine year old female child undressing while using the

bathroom; and

approximately {
two to five yé
bathroom. An
bathroom and v

‘20220814_172644 - This media file is
five minutes long and depicts an approximately
ar old male child undressing and using the
adult male, appearing to be CULMO, enters the

vipes the boys bottom.

33. | Onor about September|26, 2023, HSI Tampa interviewed

EE. GE 2s shown sanitized images of the penis depicted in the

‘ANDREA’ series. EE advised that she believes the penis depicted is CULMO’s

Case 8:23-mJ-02199-AAS Document1 Filed 09/26/23 Page 23 of 25 PagelD 49

penis based on the color difference above and below the circumcision scar and the
color of the vein on the penis.
CONCLUSION
34. Based on the foregoing facts, there is probable cause to believe that

CULMO produced and distributed child pornography, in violation of Title 18,

United States Code, Sections 2251(a) and 2252(a)(2).
Moa (00 9

Brooke N. Harville

Special Agent
Homeland Security Investigations

Affidavit submitted to me by reliable electronic means and attested to me as true and
accurate by telephone or other reliable electronic means consistent with Fed. R.
Crim. P. 4.1 and 4(d) before me this Ue day of September, 2023.

oll Sow
Aesa.eds Le A. SANSONE

United States Magistrate Judge
Case 8:23-mj-02199-AAS Document1 Filed 09/26/23 Page 24 of 25 PagelD 50

AO 442 (Rev. 11/11) Arrest Warrant

To:

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

United States of America

Justin Ryan Culmo Case No.
| “Br23ms2199 AAs
Defendant
ARREST WARRANT

Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring

(name of person to be arrested) Justin Ryan Culmo

who is accused of an offense or violation based on the following document filed with the court:

1 Indictment 1 Superseding Indictment o

1 Probation Violation Petition

This offense is briefly described as follows:

Date: Stoxunles ly, 1023

City and state:

_ Tampa, FL

before a United States magistrate judge without unnecessary delay

Information  Superseding Information M Complaint

O Supervised Release Violation Petition Violation Notice Order of the Court

Production and distribution of child pornography, in violation of 18 U.S.C §§ 2251 and 2252(a)(2).

pL Pert Same

Issuing officer's signature
8 Of

Airmanda Prindd Strnsoe , Used

Printed name and title

Return

This warrant was received on (date)

at (city and state)

Date:

___, and the person was arrested on (dare)

Printed name and title

Arresting officer's signature
|
|
|
|

Case 8:23-mj-02199-AAS Document

AO 442 (Rev. 11/I1) Arrest Warrant (Page 2)

1 Filed 09/26/23 Page 25 of 25 PagelD 51

This second page contains personal i
and therefore should not be filed in c

(Not for

Name of defendant/offender; Justin Ryan Culmo

entifiers provided for law-enforcement use only

Mert with the executed warrant unless under seal.

Public Disclosure)

Known aliases:

Last known residence:

Prior addresses to which defendant/offender may still hav

e ties:

Last known employment:

Last known telephone numbers:

Place of birth:

Date of birth:

Social Security number:

Height:

Weight:

Sex:

Race:

Hair:

Eyes:

Scars, tattoos, other distinguishing marks:

History of violence, weapons, drug use:

Known family, friends, and other associates (name, relatior

address, phone number):

FBI number:

Complete description of auto:

Investigative agency and address:

Name and telephone numbers (office and cell) of pretrial

services or probation officer (if applicable):

Date of last contact with pretrial services or probation of

ficer (if applicable):

